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^AO 199A (Rev, 6/97) Order Selling Condiiions of Release                                                                   1 of     Pnegu




                                     United States District Court

                                                Eastern             District of         Vireinia


                   United States of America                             ORDER SETTING CONDITIONS
                                                                                        OF RELEASE
                                V.


 (^{\rr\Srr\                Defendant
                                     Oni VVAO X K ^ CascNumben I
                                                           A


 IT IS ORDERED that the release of the defendant is subject to ilie following conditions:

          (1) The defendant shall not commit any offense in violation of federal, state or local law while on release in this case.

          (2) The defendant shall immediately advise the court, defense counsel and the U.S. attorney in writing before any change in
                 address and telephone number.

           (3) The defendant shall appear at all proceedings as required and shall surrender for service of any sentence imposed as

                 directed. The defendant shall appear at (if blank, lU
                                                                    to be notified)
                                                                       UC liutllicuy                United Slates District Court

                    401 Courthouse So.. Alexandria. VA         on
                                                                                              Dali; and Time




                                        Release on Personal Recognizance or Unsecured Bond

  IT IS FURTHER ORDERED that the defendant be released provided that:

 (^ )(4) The defendant promises to appear at all proceedings as required and to surrender for service of any sentence imposed.
 ( V )(5) The defendant executes an unsecured bond binding the defendant to pay the United States the sum of
                   -Avmpv^VM,                                               Ar)\\(\)f^                         doii.r,         cm
                 in the event of a failure to appear as required or to surrender as directed for service of any sentence imposed.




                    DISTRIBUTION;      COURT       DEFENDANT    PRETRIAL     SERVICES       U.S. ATTORNEY        US. MARSHAL
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